                05-44481-rdd       Doc 9692-3        Filed 09/28/07 Entered 09/28/07 16:40:29 Exhibit B-2
      In re Delphi Corporation, et al.                        Pg 1 of 1         Twentieth Omnibus Claims Objection
      Case No. 05-44481 (RDD)
         EXHIBIT B-2 - UNTIMELY INSUFFICIENTLY DOCUMENTED CLAIMS
             CREDITOR'S NAME AND             CLAIM                    ASSERTED              DATE              DOCKETED
                   ADDRESS                  NUMBER                  CLAIM AMOUNT            FILED              DEBTOR


  WILLIE C PEAVEY                            16623               Secured:                  07/10/2007   DELPHI CORPORATION
  336 LEXINGTON AVE                                               Priority:                             (05-44481)
  DAYTON, OH 45407-2044                                     Administrative:
                                                               Unsecured:            UNL
                                                                     Total:          UNL

                                   Total:       1                                    UNL




*UNL stands for unliquidated
                                                                       Page 1 of 1
